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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION



UNITED STATES OF AMERICA


V.                                            CR623-007

SAMIR PATEL




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Daniel P. Griffin having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Daniel P. Griffin be granted leave of

absence for the following periods: August 23, 2023 through September 6, 2023.

      SO ORDEILED,this the                of June,




                                       J. RANDAL HALL^ CHIEF JUDGE
                                       UNITED-STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA
